Case 0:17-cv-60755-BB Document 12 Entered on FLSD Docket 09/25/2017 Page 1 of 3
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               Case: 17-12372 Date Filed: 09/25/2017 Page:
                                                                                        Sep 25, 2017
                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT                                              MIAMI


                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

 David J. Smith                                                                       For rules and forms visit
 Clerk of Court                                                                       www.ca11.uscourts.gov


                                        September 25, 2017

 Steven M. Larimore
 U.S. District Court
 400 N MIAMI AVE
 MIAMI, FL 33128-1810

 Appeal Number: 17-12372-CC
 Case Style: John Mackey, Jr. v. Dunkin Brands, Inc., et al
 District Court Docket No: 0:17-cv-60755-BB

 The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
 referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
 Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
 the appeal shall be treated as dismissed on the first business day following the due date. This
 appeal was treated as dismissed on 08/29/2017.

 Counsel and pro se parties are advised that pursuant to Fed.R.App.P. 25(a)(2)(A), a motion to set
 aside the dismissal and remedy the default "is not timely unless the clerk receives the papers
 within the time fixed for filing."

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Julie F. Cohen, CC/lt
 Phone #: (404) 335-6170

 Enclosure(s)




                                                             DIS-2CIV Letter and Entry of Dismissal
Case 0:17-cv-60755-BB Document 12 Entered on FLSD Docket 09/25/2017 Page 2 of 3
               Case: 17-12372 Date Filed: 09/25/2017 Page: 2 of 3




                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                         ______________

                                         No. 17-12372-CC
                                         ______________

 JOHN LEWIS MACKEY, JR.,

                                                   Plaintiff - Appellant,

 versus

 DUNKIN BRANDS, INC.,
 NIGEL TRAVIS,
 Chief Executive, Official Capacity and
 Board Chairman,
 JOHN COSTELLO,
 President, Official Capacity,
 BILL MITCHELL,
 President, Official Capacity,
 PAUL REYNISH,
 Chief Marketing Officer, Official Capacity,
 et al.,

                                             Defendants - Appellees.
                       __________________________________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                       __________________________________________

 ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R. 42-2(c), this appeal is hereby
 DISMISSED for want of prosecution because the appellant John Lewis Mackey, Jr. has failed to
 file an appellant's brief and appendix within the time fixed by the rules, effective September 25,
 2017.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit
Case 0:17-cv-60755-BB Document 12 Entered on FLSD Docket 09/25/2017 Page 3 of 3
               Case: 17-12372 Date Filed: 09/25/2017 Page: 3 of 3


                        by: Julie F. Cohen, CC, Deputy Clerk

                                                   FOR THE COURT - BY DIRECTION
